Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 1 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 2 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 3 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 4 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 5 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 6 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 7 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 8 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 9 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 10 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 11 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 12 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 13 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 14 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 15 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 16 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 17 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 18 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 19 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 20 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 21 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 22 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 23 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 24 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 25 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 26 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 27 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 28 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 29 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 30 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 31 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 32 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 33 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 34 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 35 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 36 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 37 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 38 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 39 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 40 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 41 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 42 of 43
Case 8:23-bk-11368-TA Doc 1 Filed 07/03/23 Entered 07/03/23 16:36:44   Desc
               INCORRECT PDF - Main Document Page 43 of 43
